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                       Exhibit A

                    Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re                                                          )     Chapter 11
                                                                   )
    TOUGH MUDDER INC., et al., 1                                   )     Case No. 20-10036 (CSS)
                                                                   )
                             Debtors.                              )     Jointly Administered
                                                                   )
                                                                   )     RE: D.I. __
                                                                   )

     ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION AND
        REIMBURSEMENT OF EXPENSES FOR RETAINED PROFESSIONALS

                    Upon the motion (the “Motion”) 2 of Derek C. Abbott, Esq., the chapter 11 trustee

(the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event Production

Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”) for entry of an order (this

“Order”), pursuant to sections 105(a), 330(a) and 331 of the Bankruptcy Code, Bankruptcy Rule

2016, and Local Rule 2016-2, establishing procedures for interim compensation and

reimbursement of expenses for retained professionals; and the Court having jurisdiction to

consider the matters raised in the Motion pursuant to 28 U.S.C. § 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012; and the Court having authority to hear the matters raised in the Motion

pursuant to 28 U.S.C. § 157; and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and consideration of the Motion and the requested relief being a core

proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and due and proper

notice of the Motion and opportunity for a hearing on the Motion having been given to the
1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
2
            Capitalized terms not otherwise defined herein are used as in the Motion.
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parties listed therein, and it appearing that no other or further notice need be provided; and the

Court having reviewed and considered the Motion; and the Court having the opportunity to hold

a hearing on the Motion (the “Hearing”), if necessary; and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and the Court having found that the relief requested in the Motion being in

the best interests of the Debtors, their creditors, their estates, and other parties in interest; and

after due deliberation and sufficient cause appearing therefor,

       IT IS HEREBY ORDERED THAT:

               1.      The relief requested in the Motion is hereby granted as set forth herein.

               2.      Except as otherwise provided in this Court’s orders, all Professionals may

seek interim compensation of fees and reimbursement of expenses in accordance with the

procedures (the “Compensation Procedures”) set out in Exhibit 1 attached hereto.

               3.      All Professionals who have been or are hereafter retained under sections

327 or 1103 of the Bankruptcy Code, except those that the Trustee retained in the ordinary

course of business, shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Chapter 11 Cases in compliance with

this Order, the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Court’s orders.

               4.      The Professionals shall be required to serve the Applications only on the

Notice Parties. All other parties that have filed a notice of appearance shall be entitled to receive

only Hearing Notices on the Applications, which shall contain information for accessing

application(s) free of charge.

               5.      The Trustee shall include in the Debtors’ monthly operating reports all

payments to Professionals.




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               6.     All periods referenced in this Order and the Compensation Procedures

shall be calculated in accordance with Bankruptcy Rule 9006(a).

               7.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h),

7062, 9014 or otherwise, this Order shall be effective immediately and enforceable upon its

entry.

               8.     The Trustee is authorized to take all actions necessary or appropriate to

implement the terms of this Order.

               9.     The Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to implementation, interpretation, and enforcement of this Order.


Dated: ______________, 2020
       Wilmington, Delaware
                                       _____________________________________________
                                        THE HONORABLE CHRISTOPHER S. SONTCHI
                                        CHIEF UNITED STATES BANKRUPTCY JUDGE




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                       Exhibit 1

               Compensation Procedures
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re                                                          )     Chapter 11
                                                                   )
    TOUGH MUDDER INC., et al., 1                                   )     Case No. 20-10036 (CSS)
                                                                   )
                             Debtors.                              )     Jointly Administered
                                                                   )

                                      COMPENSATION PROCEDURES

                     Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals (the “Order”), 2 the following

compensation procedures (collectively, the “Compensation Procedures”) shall apply with respect

to the allowance and payment of compensation for professional services rendered and

reimbursement of expenses incurred by attorneys and other professionals retained pursuant to

sections 327 or 1103 of the Bankruptcy Code and are required to file applications pursuant to

sections 330 and 331 of the Bankruptcy Code on terms that satisfy the requirements of

Bankruptcy Rule 2016 and Local Rule 2016-2 (each a “Professional” and collectively, the

“Professionals”). Specifically, the Compensation Procedures are as follows:

                     a.       Each month following the month or months for which
                              compensation is sought, each Professional seeking interim
                              allowance of its fees and expenses may file an application,
                              which will include the relevant time entry and description
                              and expense detail, with the Court for interim allowance of
                              compensation for services rendered and reimbursement of
                              expenses incurred during the preceding month or months (a
                              “Monthly Fee Application”).

                     b.       Each Professional may submit its first Monthly Fee
                              Application no earlier than entry of the Order. The initial
1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
2
            Capitalized terms not otherwise defined herein are used as in the Order.
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      Monthly Fee Application will cover the period from the
      Appointment Date through February 29, 2020. Thereafter,
      the Professionals may submit Monthly Fee Applications in
      the manner described above.

c.    Each such Professional shall serve such Monthly Fee
      Application by first-class mail on the following parties: (i)
      proposed counsel for the Trustee, Morris, Nichols, Arsht &
      Tunnell LLP, 1201 North Market Street, 16th Floor, P.O.
      Box 1347, Wilmington, DE 19899, Attn: Curtis S. Miller
      (cmiller@mnat.com),          Matthew        B.       Harvey
      (mharvey@mnat.com),         Joseph     C.    Barsalona     II
      (jbarsalona@mnat.com), and Brett S. Turlington
      (bturlington@mnat.com); (ii) the Debtors’ 20 largest
      unsecured creditors on a consolidated basis; and (iii) the
      Office of the United States Trustee, J. Caleb Boggs Federal
      Building, 844 King Street, Suite 2207, Lockbox 35,
      Wilmington, DE 19801, Attn: Jane Leamy, Esq.
      (jane.m.leamy@usdoj.gov) (each a “Notice Party” and
      collectively, the “Notice Parties”).

d.    Any Professional that fails to file a Monthly Fee
      Application for a particular month or months may
      subsequently submit a consolidated Monthly Fee
      Application that includes a request for compensation
      earned or expenses incurred during previous months. All
      Monthly Fee Applications shall comply with the
      Bankruptcy Code, the Bankruptcy Rules, the Local Rules
      and applicable nonbankruptcy law.

e.    Parties in interest have 14 days after the service of a
      Monthly Fee Application (the “Objection Deadline”) to
      object to the requested fees and expenses in accordance
      with the procedures described in subparagraph (f) below.
      After expiration of the Objection Deadline, each
      Professional may file with the Court a certificate of no
      objection (“CNO”) with respect to the unopposed portion
      of the fees and expenses requested in its Monthly Fee
      Application. After a CNO is filed, the Trustee is authorized
      to pay the Professional an amount (the “Actual Monthly
      Payment”) equal to the lesser of (i) 80% of the fees and
      100% of the expenses requested in the Monthly Fee
      Application (the “Maximum Monthly Payment”) or (ii)
      80% of the fees and 100% of the expenses not subject to an
      objection pursuant to subparagraph (f) below.



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f.    If any party in interest wishes to object to a Professional’s
      Monthly Fee Application, it must (i) file a written objection
      (each, an “Objection”) with the Court on or before the
      Objection Deadline and (ii) serve the Objection on the
      affected Professional and each of the other Notice Parties
      so that it is actually received by the other Notice Parties on
      or before the Objection Deadline. Any such Objection
      shall identify, with specificity, the objectionable fees and/or
      expenses, including the amount of such objected to fees
      and/or expenses and the basis for such Objection.
      Thereafter, the objecting party and the affected Professional
      may attempt to resolve the Objection on a consensual basis.
      If the parties are unable to reach a resolution of the
      Objection within 14 days after service of the Objection, the
      affected Professional may either (i) file a request with the
      Court for payment of the difference, if any, between the
      Maximum Monthly Payment and the Actual Monthly
      Payment made to the affected Professional (the
      “Incremental Amount”) or (ii) forgo payment of the
      Incremental Amount until the next interim or final fee
      application hearing, at which time the Court will consider
      and rule on the Objection if requested by the parties.
      Payment of the Incremental Amount will be allowed upon
      the Court’s disposal of the Objection.

g.    At three-month intervals or such other intervals convenient
      to the Court (the “Interim Fee Period”), each Professional
      may file with the Court and serve upon the Notice Parties a
      request (an “Interim Fee Application”) for interim Court
      approval and allowance of the compensation and
      reimbursement of expenses sought by such Professional in
      its Monthly Fee Applications, including any holdbacks
      filed during the Interim Fee Period, pursuant to section 331
      of the Bankruptcy Code. The Interim Fee Application must
      include a brief summary identifying the following:

      (i)     the Monthly Fee Applications that are the subject of
              the request;

      (ii)    the amount of fees and expenses requested;

      (iii)   the amount of fees and expenses approved to date or
              subject to an Objection; and

      (iv)    any other information requested by the Court or
              required by the Bankruptcy Rules or Local Rules,


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             including Bankruptcy Rule 2016(a) and Local Rule
             2016-2.

      Each Professional shall file its first Interim Fee Application
      no earlier than April 2020, and the first Interim Fee
      Application shall cover the period from the Appointment
      Date through March 31, 2020.                 Thereafter, each
      Professional must file its Interim Fee Application after the
      end of the applicable Interim Fee Period.

h.    The Trustee will request that the Court schedule a hearing
      on Interim Fee Applications at least once every three
      months or at such other intervals as the Court deems
      appropriate. Parties in interest will have 14 days after the
      service of an Interim Fee Application to file an Objection.
      The Court, in its discretion, may approve an uncontested
      Interim Fee Application without the need for a hearing,
      upon the Professional’s filing of a CNO. Upon allowance
      by the Court of a Professional’s Interim Fee Application,
      the Trustee will be authorized to promptly pay such
      Professional all allowed fees (including the 20% holdback)
      and expenses not previously paid.

i.    The pendency of an Objection to payment of compensation
      or reimbursement of expenses shall not disqualify a
      Professional from the future payment of compensation or
      reimbursement of expenses pursuant to the Compensation
      Procedures. Any Professional that fails to file an Interim
      Fee Application when permitted will be ineligible to
      receive further interim payments of fees or expenses under
      the Compensation Procedures until such time as an Interim
      Fee Application is submitted by the Professional.

j.    Professionals will each file a final application for
      compensation and reimbursement (the “Final Fee
      Application”) on or before the deadline set in a confirmed
      chapter 11 plan or an order of the Court. Each Final Fee
      Application must comply with the Bankruptcy Code, the
      Bankruptcy Rules, the Local Rules, and this Court’s orders.




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